    Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 1 of 23



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

JACK WINFIELD THRASHER,

                             Plaintiff,                  12-CV-0880(MAT)

                  v.                                     DECISION
                                                         and ORDER
CAROLYN W. COLVIN, Commissioner
of Social Security,1

                             Defendant.


                              INTRODUCTION

     Jack    Winfield Thrasher    (“Plaintiff”),    brings   this   action

pursuant to 42 U.S.C. § 405(g) seeking review of the final decision

of the Commissioner of Social Security (“the Commissioner”) denying

his application for Disability Insurance Benefits (“DIB”).

     Presently before the Court are the parties’ motions for

judgment on the pleadings pursuant to Rule 12(c) of the Federal

Rules of Civil Procedure. Dkt. ##8, 11.

                                BACKGROUND

     Plaintiff filed a DIB application on May 13, 2008, alleging

disability beginning May 1, 2007,2 due to traumatic brain injury

(“TBI”) and vitamin B-12 deficiency. T. 28, 147-50, 163. His

initial application was denied, and a hearing was subsequently

requested before an Administrative Law Judge (“ALJ”). T. 68-72.


     1
       Carolyn W. Colvin became the Acting Commissioner of Social
Security on February 14, 2013. Pursuant to Rule 25(d) of the Federal
Rules of Civil Procedure, Carolyn W. Colvin should therefore be
substituted for Michael J. Astrue as the defendant in this suit.
     2
         Plaintiff later amended the onset date to November 15, 2005.
    Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 2 of 23



Plaintiff appeared with counsel before ALJ Bruce R. Mazzarella in

Buffalo,     New   York,   on   December    7,     2010.   The   ALJ     also   heard

testimony from a vocational expert. T. 26-67.

       In applying the familiar five-step sequential analysis as

contained in the administrative regulations promulgated by the

Social Security Administration, see 20 C.F.R. §§ 404.1520, 416.920;

Lynch v. Astrue, No. 07-CV-249, 2008 WL 3413899, at *2 (W.D.N.Y.

Aug.   8,    2008)   (detailing      the    five    steps),      the    ALJ     found:

(1) Plaintiff had not engaged in substantial gainful activity since

his alleged onset date of November 15, 2005; (2) he had the severe

impairments of TBI with mild cognitive loss and vitamin B-12

deficiency; (3) his impairments did not meet or equal the Listings

set forth at 20 C.F.R., Part 404, Subpart P, Appx. 1, and that he

retained the residual functional capacity (“RFC”) to perform work

at all exertional levels, except that he was limited to simple,

repetitive, and routine tasks with little in the way of changes in

work assignments, and was limited to 1 and 2-step instructions or

tasks that could be reduced to checklist form; (4) Plaintiff was

not able to return to his past relevant work; and (5) based in part

upon   the   vocational     expert   testimony       and   using       the   Medical-

Vocational Guidelines, there existed jobs in significant numbers in

the national economy that Plaintiff could perform. T. 12-20. The

ALJ then concluded that Plaintiff was not disabled as defined in

the Act. T. 20-21.


                                        2
      Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 3 of 23



        The ALJ’s determination became the final decision of the

Commissioner when the Appeals Council denied Plaintiff’s request

for review on July 20, 2012. T. 1-4. This action followed. Dkt.#1.

       The Commissioner moves for judgment on the pleadings on the

grounds that substantial evidence supports the Commissioner’s final

decision that Plaintiff was not disabled. Comm’r Mem. (Dkt. #9) 19-

24. Plaintiff has filed a cross-motion alleging that the ALJ

improperly       applied    the   treating          physician    rule,   erroneously

assessed Plaintiff’s credibility, and should have found Plaintiff

disabled    at    step     five   of    the       sequential    analysis.   Pl.   Mem.

(Dkt. #11-1) 9-15.

                                       DISCUSSION

I.     Scope of Review

        A federal court should set aside an ALJ decision to deny

disability benefits only where it is based on legal error or is not

supported by substantial evidence. Balsamo v. Chater, 142 F.3d 75,

79 (2d Cir. 1998). “Substantial evidence means such relevant

evidence as a reasonable mind might accept as adequate to support

a conclusion.” Green–Younger v. Barnhart, 335 F.3d 99, 106 (2d Cir.

2003) (internal quotation marks omitted).

II.    Medical Evidence

       A.   Prior to November 15, 2005

       Plaintiff had an auto accident in 1967 resulting in a TBI that

left him unconscious for eight weeks. T. 223, 227, 255. The


                                              3
    Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 4 of 23



accident also resulted in one of his legs being shorter than the

other. T. 256.

     Psychiatrist Hilary Tzetzo evaluated Plaintiff on October 27,

2005, shortly before his alleged onset date of disability, at the

request   of   his   employer.    T.   254-58.   At    work,     Plaintiff   was

described as having memory problems, disheveled appearance, and

irritable, and as a result he was sent a certified letter informing

him of these problems. T. 254. He denied, however, that these

problems had been ongoing for over a year. Id.

     Plaintiff’s memory was “a concern,” but he had not seen any

mental health professional or counselor and denied psychiatric

history. T.      254.   He had   an    “excellent     academic    history”   and

excellent vocabulary. He told Dr. Tzetzo that he hoped he did not

have a mental health problem and that there was a physical reason

for his work problems. T. 255.

     The mental status examination revealed that Plaintiff was

cooperative, attentive, alert, and fully oriented with adequate eye

contact. T. 256. His grooming was moderate, at best, his jeans were

not fully zipped, but he was not malodorous. Id. Plaintiff scored

29 out of 30 on a mini-mental status exam, indicating normal

cognition. Id. He recalled 7 digits forward and 5 back, but could

only recall 1 of 3 objects after 5 minutes, and was not able to

remember 2 even with prompting, nor could he recall a street

address   with    prompting.     Id.   Dr.   Tzetzo   noted    that   he   could


                                        4
    Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 5 of 23



successfully recite details from a short story, suggesting decent

reading comprehension skills. Id.

     Plaintiff exhibited no obvious psychomotor retardation or

agitation.      Id.   Speech   was     spontaneous,     but      there    was   an

articulation problem. Id. Thought processes were coherent and he

was at least of average intelligence. T. 257. Insight was marginal

and judgment was fair. Id. Diagnoses were cognitive disorder, not

otherwise specified with recent memory problems; traumatic brain

injury; ongoing stressors include limited social support; and a

Global Assessment of Functioning score of 58, indicating “moderate

symptoms (e.g., flat affect and circumstantial speech, occasional

panic attacks), or moderate difficulty in social, occupational, or

school functioning (e.g., few friends, conflicts with peers or

co-workers).”     Amer.   Psych.     Assoc.,    Diagnostic     and     Statistical

Manual of Mental Disorders, (“DSM”) 32, 34 (4th ed., text revision,

2000).

     Dr.   Gordon     Steinagle    also     conducted   a    “fitness-for-duty”

examination on October 27, 2005. T. 259-61. Dr. Steinagle noted

reports    of    Plaintiff     having       increased       problems     following

instructions, angry outbursts at work, increasing forgetfulness,

and a somewhat unkept appearance. Plaintiff acknowledged these

issues and stated that it had been going on for an undetermined

amount of time. T. 259. He could perform activities of daily living

without problems. His physical examination was normal except that


                                        5
    Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 6 of 23



his right leg was shortened approximately 3-4 inches due to a

pelvic fracture sustained in a motor vehicle accident in the 1960s.

T. 260. His neurological examination was also normal. T. 261.

Dr. Steinagle determined that Plaintiff was unfit for duty, likely

due to a central nervous system problem. Id.

     On November 8, 2005, Dr. John Hargraves of the Employee Health

Service stated that Plaintiff was unfit for duty as a mental health

therapy aide based on the evaluations of Drs. Steinagle and Tzetzo.

T. 253.

     B.     On and After November 15, 2005

     A    magnetic    resonance   image   of   Plaintiff’s   brain      dated

November 23, 2005, showed right temporal and parietal volume loss,

right temporal arachnoid cyst, and small hyperintensities possibly

suggestive of white matter disease. T. 227, 291.

     Plaintiff began seeing neurologist Dr. Peterkin Lee-Kwen in

November, 2005, for evaluation of memory difficulties. T. 344. His

diagnoses were memory loss with no evidence of Alzheimer’s disease

and decreased attention and concentration and B-12 deficiency. Id.

On December 2, 2005,        Dr. Lee-Kwen examined Plaintiff and noted

decreased attention span and concentration, but his ability to name

objects, repeat phrases, and speak spontaneously was good. T. 346.

A mini mental status exam was 29 out of 30. Id. The examination

results   showed     that   Plaintiff’s   vitamin   B-12   was   less   than

100pg/mL, MRI of the brain revealed slight atrophy, an enlarged


                                     6
     Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 7 of 23



septum pellucidum, and an area of encephalomalacia on the right

temporal lobe. Id. The results of Plaintiff’s examinations were

unchanged at a follow-up appointment in December, and Plaintiff

reported that he felt better since a recent vitamin B-12 injection.

T.   247, 347.      Electroencephalogram          findings        were unremarkable.

T. 248.

      From late 2005 to 2009, Plaintiff saw Physician Assistant

(“P.A.”) Nancy Lance at Tri-County Memorial Hospital for B-12

injections and routine treatment. T. 273-81, 376-97, 421-30.

      On    January    24,    2006,    neurologist          Dr.    George    Kalonaros

evaluated Plaintiff based upon reports of difficulty with memory

and functioning in various capacities.                 Dr. Kalonaros noted that

Plaintiff       was somewhat      unkempt,      but   not   dirty,     and   had some

difficulty with short-term memory. T. 223. He opined that Plaintiff

“ha[d]     a    clinical     picture    consistent          with     mild    cognitive

impairment, which based on his history may very well be secondary

to B-12 deficiency.” Id. Although he believed Plaintiff could

return     to   work   in   his   normal       capacity,     a    neuropsychological

evaluation would be helpful in meeting a more exact determination

regarding his ability to manage in the normal work environment.

T. 223-24.

      Plaintiff received a B-12 injection on January 26, 2006, and

was noted to have some improvement in cognition since receiving the

replacements. Dr. Lee-Kwen noted some difficulty with attention and


                                           7
      Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 8 of 23



concentration, and doubted Alzheimer’s or other pathological causes

of    dementia    being   present.   T.      349.   Other    findings      remained

unchanged. Id.

       Neuropsychologist Michael Santa Maria, Ph.D., conducted an

independent medical examination of Plaintiff on February 6, 2006.

T. 226-32. Plaintiff reported memory problems since November, 2005,

which had improved with B-12 treatment. T. 226.               Upon examination,

Plaintiff exhibited speech of sub-par clarity, poorly enunciated

and with words running together with frequency. T. 228. He recalled

1 of 3 words after a brief delay. He told Dr. Santa Maria that he

“desperately wanted to return to work,” but did not report any

downturn in mood and the remainder of his mental examination was

normal. T. 228. The neuropsychological report indicated findings of

“impaired” or “mild deficit” in 8 of 11 areas in the category of

learning and memory, and “normal” to “borderline” results in the

remaining      categories.   T.   229.    Plaintiff’s       memory   was   notably

impaired, but he had high average overall intellectual abilities.

T. 231. Dr. Santa Maria’s assessment was mild cognitive impairment

associated with TBI, and complicated by aging, arachnoid cyst, and

B-12 deficiency. T. 228-31. Plaintiff was unlikely to regain

capacity to handle the duties of his State job, even with B-12

treatment. T. 232. Shortly thereafter, Dr. Kalonaros reviewed

Dr.    Santa   Maria’s    neuropsychological        report    and    opined   that




                                         8
    Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 9 of 23



Plaintiff was not fit for duty in his usual capacity at work.

T. 225.

     Dr. Santa Maria evaluated Plaintiff again in August, October,

and November of 2006. T. 265-69. His re-evaluations revealed that

he had improved in fine motor speed and coordination bilaterally,

reading   ability,    and   spelling,   but   showed   no    improvement   in

concentration or processing speed. T. 268. Dr. Santa Maria opined

that Plaintiff lacked the capacity to return to his prior work, but

may seek vocational rehabilitation to an occupation that is less

cognitively demanding. T. 269. Plaintiff again expressed a strong

desire to return to work. Id.

     Plaintiff continued to see Dr. Lee-Kwen periodically. T. 296-

97, 299-300, 351-72. In March, 2006, Dr. Lee-Kwen prescribed Exelon

for cognition and continued B-12 injections. T. 351. Physical and

neurological examination findings were generally unchanged. He

exhibited intermittent slurred speech. Memory difficulties slightly

improved with Exelon. Id. In June, 2007, his memory loss and

arachnoid cyst were stable. T. 296, 363. His memory function was

noted to have subtly declined by December, 2007. T. 365. Subsequent

visits through 2009 indicated this his condition was stable.

T. 367-72. In January, 2010, examination findings were again

unchanged,   but     with   decreased   attention      and   concentration.

T. 414-15.




                                    9
   Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 10 of 23



     P.A.    Lance     completed     a   Primary     Physician’s     Statement     of

Disability form on June 20, 2008, which indicated Plaintiff had

memory   loss    and     TBI,   a   prognosis   of    fair,    and   that    he   was

permanently disabled from his State job. T. 271-72.

     A June 27, 2008 Primary Physician’s Statement of Disability

form completed by Dr. Lee-Kwen indicated that Plaintiff had mild

cognitive dysfunction, a prognosis of guarded, and that he was

permanently disabled from performing the duties of his current

position. T. 416-17.

     Plaintiff underwent a psychological consultative examination

on July 30, 2008 by Thomas Ryan, Ph.D. T. 307-10. He reported some

difficulty with sleep, social withdrawal and usual life stress and

worry, but denied depression, irritability, and other anxiety-

related problems. Plaintiff stated that he had a great deal of

difficulty with short-term memory, attention, and concentration,

but his long-term memory was “okay.” T. 307. He exhibited fair

grooming and his speech reflected mild stammering. His attention

and concentration and recent and remote memory skills were in tact,

with cognitive functioning the average range. He was able to take

care of his personal needs, had some friends, and spoke with his

sister. Dr. Ryan opined that Plaintiff demonstrated no significant

psychiatric condition or limitation in his ability to follow and

understand      simple    directions,     perform     simple    tasks,      maintain

attention and concentration, maintain a regular schedule, learn new


                                         10
   Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 11 of 23



tasks, perform complex tasks, make adequate decisions, or generally

relate well with others. T. 309.

     A consultative neurologic examination performed the same day

was unremarkable except for slight difficulty walking heel to toe.

T. 311-13.

     State Agency Review psychologist Martha Totin reviewed the

record on October 8, 2008, and found that Plaintiff had a history

of mild cognitive impairment, and had only mild limitations in the

areas   of   maintaining    social      functioning   and    maintaining

concentration, persistence, or pace, with no other limitations.

T. 316-28. Dr. Totin found no episodes of decompensation, and found

Plaintiff’s impairment was found to be non-severe. T. 326, 328.

     On March 23, 2009, Plaintiff was consultatively examined by

neurologist Dr. J. Maurice Hourihane. T. 418-19. Upon examination,

Plaintiff was slightly disheveled with slurred speech, but was

pleasant and scored 28 out of 30 on a mini-mental status exam.

T. 419. He had no problems with activities of daily living,

including driving, self-care, and balancing a checkbook. T. 418.

Dr. Hourihane found that Plaintiff was neurologically stable with

no history of substantial deterioration. T. 419.

     On August 11, 2009, a review physician completed a Disability

Review Team Certificate finding Plaintiff disabled based on a

mental residual   functional    capacity    assessment   showing   marked

limitations in areas of understanding and memory, and maintaining


                                   11
   Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 12 of 23



concentration and persistence, social interaction, and adaptation.

T. 420.

     A Mental Residual Functional Capacity form completed by P.A.

Lance on   November   16,   2009,   indicated that   due   to   cognitive

dysfunction, Plaintiff had marked or extreme limitations in all but

three functional areas, with the remaining areas showing moderate

limitations. T. 373-74.

III. Non-Medical Evidence

     On September 29, 2005, Treatment Team Leader Renee Szarowicz

requested an employee health examination of Plaintiff due to his

behavior at work over the past year, specifically, using foul

language, talking to himself, and being visibly upset, and needing

reminders to follow tasks that had been repeatedly explained to

him. T. 249. He could not remember or recall without numerous

prompts, had problems with focus, and had a low distress tolerance.

Id. After a training in basic computer skills and data entry, he

did not have recall, and would get confused and become upset.

T. 250.

     Plaintiff was born in 1950, completed college and received a

master’s degree in counseling. T. 39, 169. Plaintiff testified that

he lived alone and worked as a mental health therapy aide for 21

years until he began having problems with his memory. T.34-35, 41.

He later applied for jobs as a bus aide and at a restaurant, but he




                                    12
   Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 13 of 23



was not hired. T. 42. When asked whether he applied for disability

retirement, he stated that he could not remember. T. 37-38.

     Plaintiff had a driver’s license, but his sister drove him to

the hearing. T. 34. As a teenager, Plaintiff had a brain injury,

and the majority of his problems were with short-term memory.            He

couldn’t watch much television or read often due to concentration

problems, was unable to follow-complex instructions, and slept

around five hours per night. He stated that vitamin B-12 shots

helped his memory somewhat, and that he adjusted by making notes to

himself and using a box system for his medication. T.41, 43-46, 52

     With regard to daily activities, Plaintiff told the ALJ that

he could prepare simple meals, do laundry, dishes, and grocery

shopping, performed yard work, could drive a car, and was a

volunteer firefighter that directed traffic when needed. T.48, 53-

55. He could pay bills and maintain a checking account with

reminder notes. T. 48-49.

     Plaintiff also testified that he could not stand for long

periods of time due to foot problems. T. 52.

     The ALJ posed a hypothetical to vocational expert James

Phillips involving an individual of Plaintiff’s age, education, and

work experience, who was limited to simple, repetitive, and routine

tasks; little in the way of changes in work assignments, or

judgments in making work assignments; one- or two-step instructions

due to memory difficulties or tasks that could be performed in


                                   13
      Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 14 of 23



checklist form. T. 62-63. Mr. Phillips responded that such a person

could    perform      the   light,   unskilled   jobs   of   line   packer    or

inspector/packer. T. 63-65.

IV.    Analysis

       A.      Treating Source Opinion

       Plaintiff contends that the ALJ did not properly assess the

opinions of his treating physicians. Pl. Mem. 10-13.

       Under the Commissioner's regulations, a treating physician's

opinion is entitled to controlling weight, provided that it “is

well-supported by medically acceptable clinical and laboratory

diagnostic techniques and is not inconsistent with the other

substantial evidence in [the] case record.” 20 C.F.R. §§ 416.927(c)

(2), 404.1527(c)(2). However, “the less consistent that opinion is

with the record as a whole, the less weight it will be given.”

Snell v. Apfel, 177 F.3d 128, 133 (2d Cir. 1999), citing 20 C.F.R.

§ 404.1527(d)(4).

       The Commissioner need not grant controlling weight to a

treating physician's opinion to the ultimate issue of disability,

as this decision lies exclusively with the Commissioner. See 20

C.F.R. § 404.1527(d)(1); Snell, 177 F.3d at 133 (“A treating

physician's statement that the claimant is disabled cannot itself

be determinative.”).

       Here,    the   ALJ   did   not   give   controlling    weight   to    the

November     16,   2009,    Mental   Residual    Functional   Capacity      form


                                        14
      Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 15 of 23



completed by P.A. Lance because she was not a doctor, and afforded

it little weight because it was inconsistent with the medical

record as a whole. T. 18. He also gave little weight to the

Disability Review Team Certificate because it was inconsistent with

the     consultative    examination       findings    and    the       opinions    of

Drs. Kalonaros, Santa Maria, and Lee-Kwen. Id. Finally, he gave

“more weight” to the opinions of Drs. Kalonaros, Santa Maria, and

Lee-Kwen, as they were consistent with one another and with the

consultative examination findings. Id.

       It is true that the opinions of P.A. Lance, Dr. Lee-Kwen,

Dr. Kalonaros, Dr. Santa Maria, and the State Disability review

physician concluding that Plaintiff was unable to return to his

prior work were not entitled to special significance under the

treating physician rule. See 20 C.F.R. § 416.927(d).

       The Court is also cognizant that P.A. Lance was an “other

source” under the regulations. While an “other source” opinion

generally is not treated with the same deference as a treating

physician's opinion, consideration of an opinion from someone who

is not an “acceptable medical source” is particularly important

where    that    provider   is    the   “sole   source     that   had    a   regular

treatment       relationship     with   plaintiff.”   White       v.   Comm’r,    302

F.Supp.2d 170, 176 (W.D.N.Y. 2004) (citation omitted). P.A. Lance

was    Plaintiff’s     primary     care    provider   of    several      years    who

submitted a function-by-function analysis, setting forth the nature


                                          15
   Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 16 of 23



and severity of Plaintiff’s impairments, finding extreme and marked

limitations      in    several    functional        areas.       T.   373-75.    She    had

previously      made    identical       findings     in     a    Primary      Physician’s

Statement completed on June 20, 2008. T. 272.

     Significantly, Lance’s Mental Residual Functional Capacity

report   was    consistent       with    the      Primary       Physician’s     Statement

completed by Dr. Lee-Kwen, Plaintiff’s treating neurologist, which

indicated that Plaintiff had a progressive neurologic condition

that disabled him from his current work and that he was not

expected to substantially improve function with treatment, and also

with the Disability Review Team Certificate, which noted that based

on multiple evaluations, including a mental residual functional

assessment,      Plaintiff       had     marked      limitations         in     areas    of

understanding and memory, sustaining concentration and persistence,

social interaction, and adaptation. T. 417, 420.

     These opinions are entitled to greater weight than that of the

consultative      psychologist         and    neurologist,         who   only    examined

Plaintiff      once,    and   found     no    significant         limitations     in    any

functional area. See SSR 06–03p, 2006 WL 2329939, at *2 (“depending

on the particular facts in a case, and after applying the factors

for weighing opinion evidence, an opinion from a medical source who

is not an ‘acceptable medical source’ may outweigh the opinion of

an ‘acceptable medical source’ “such as when the “other source”

“has seen the individual more often than the treating source and


                                             16
   Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 17 of 23



has provided better supporting evidence and a better explanation

for his or her opinion”).

       Although the ALJ stated that he gave “more weight” to the

opinions    of    Drs.   Santa   Maria,       Kalonaros,    and    Lee-Kwen,    he

incorrectly noted that they were consistent with the consultative

examination      findings.   Rather,     the   treatment    notes    from   these

sources were in agreement with one another that Plaintiff had

notable memory loss, unkept appearance, and slurred speech, with

some    level    of   impairment    as    to    insight    and    judgment.    The

consultative examinations, on the other hand, were unremarkable and

revealed no limitations.           T. 247-48, 296-97, 300, 346, 349-72,

414-15, 419.

       Finally, to the extent that the opinions of these treating

sources were inconsistent with their own examination results, which

the ALJ pointed out showed that Plaintiff was “neurologically

stable,” the ALJ was duty-bound to “seek any clarification of the

perceived inconsistences in [a treating physician's] findings about

the claimant's [ ] limitations,” and failure to do so amounts to

legal error requiring remand. Rolon v. Comm’r, 994 F.Supp.2d 496,

504 (S.D.N.Y. 2014).

       The Court concludes that the ALJ erred in his consideration of

these treating physician opinions, and that this error requires

remand.




                                         17
   Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 18 of 23



     B.     Credibility Assessment

     Plaintiff also challenges the ALJ’s credibility determination,

alleging that he used “boilerplate” language and did not properly

apply Social Security Ruling (“SSR”) 96-7p. Pl. Mem. 13-15.

     To establish disability, there must be more than subjective

complaints.    There   must   be   an    underlying       physical   or   mental

impairment,    demonstrable   by medically           acceptable    clinical   and

laboratory diagnostic techniques that could reasonably be expected

to produce the symptoms alleged. 20 C.F.R. § 416.929(b); accord

Gallagher v. Schweiker, 697 F.2d 82, 84 (2d Cir. 1983). When a

medically     determinable    impairment        exists,    objective      medical

evidence must be considered in determining whether disability

exists,     whenever   such    evidence         is    available.     20   C.F.R.

§ 416.929(c)(2). If the claimant's symptoms suggest a greater

restriction of function than can be demonstrated by objective

medical evidence alone, consideration is given to such factors as

the claimant's daily activities; the location, duration, frequency

and intensity of pain; precipitating and aggravating factors; the

type,     dosage,   effectiveness,        and    adverse     side-effects      of

medication; and any treatment or other measures used to relieve

pain. 20 C.F.R. § 416.929(c)(3); see SSR 96–7p, (July 2, 1996),

1996 WL 374186, at *7. It is well within the Commissioner's

discretion to evaluate the credibility of a plaintiff's testimony

and render an independent judgment in light of the medical findings


                                        18
   Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 19 of 23



and other evidence regarding the true extent of symptomatology.

Mimms v. Sec’y, 750 F.2d 180, 186 (2d Cir. 1984); Gernavage v.

Shalala, 882 F.Supp. 1413, 1419 (S.D.N.Y. 1995).

       In assessing Plaintiff’s credibility, the ALJ acknowledged

that he had a “good steady work record, which does raise a

favorable inference of an individual well motivated to work within

their [sic] capabilities,” but found that other evidence outweighed

this   inference.   T.   18.   Specifically,   Plaintiff’s   receipt     of

retirement benefits, the fact that his physicians stated that he

was a good candidate for vocational rehabilitation, and that “based

upon his treating sources, he would not have been eligible for

disability retirement.” Id. The ALJ concluded that Plaintiff’s

subjective complaints were not credible as they were inconsistent

with the RFC assessment. T. 14.

       First, the ALJ improperly used Plaintiff’s receipt of a

retirement pension as a means to impugn his credibility. See Rinker

v. Chater, No. 95 Civ. 3923, 1997 WL 47791, at * 9 (S.D.N.Y.

Feb. 6, 1997) (noting a split in authority but opining that

claimants receiving pensions should not “be presented with a more

difficult row to hoe” in obtaining SSI). Other courts within this

Circuit have reached similar conclusions. See Goldthrite v. Astrue,

535 F.Supp.2d 329, 337–38 (W.D.N.Y. 2008) ("[T]his court finds it

problematic that a Plaintiff would be found less credible simply

because they are of limited means. The fact that the Plaintiff was


                                    19
   Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 20 of 23



receiving other income from public assistance does not, by itself,

mean that she is less credible when testifying about her pain.");

Cordero v. Astrue, No. 11 Civ. 5020, 2013 WL 3879727, at *26

(S.D.N.Y. July 29, 2013) (holding that it was “clearly improper”

for the ALJ to use plaintiff's receipt of a monthly pension and her

husband's income as a means to challenge her credibility); Parikh

v. Astrue, 07–CV–3742, 2008 WL 597190, at *8 n.10 (E.D.N.Y. Mar. 2,

2008) (“The ALJ also, curiously, took the fact that Parikh had a

pending application for a state disability pension to impeach her

credibility by giving her a disincentive to work while waiting for

the pension to be approved . . . I am at a loss to understand why

Parikh's situation is different in this regard than the situation

of any claimant of Social Security disability benefits . . . .”)

     This   is     not   a   case    where      Plaintiff    had   a     “financial

disincentive to his returning to work.” Rinker, 1997 WL 47791 at

*9. To the contrary, Plaintiff continued to seek work after being

advised he was unfit to perform his previous duties as a mental

health   therapy    aide.    T.     14.    It   appears     that   the    ALJ   used

Plaintiff’s desire to work against him to undermine his subjective

complaints. A claimant, such as Plaintiff, “with a good work record

is entitled to substantial credibility when claiming an inability

to work because of a disability.” Rivera v. Schweiker, 717 F.2d

719, 725 (2d Cir. 1983); accord, Horan v. Astrue, 350 Fed. Appx.

483, 485 (2d Cir. 2009).


                                          20
   Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 21 of 23



     Second, the ALJ’s statement that “based upon [Plaintiff’s]

treating sources, he would not have been eligible for disability

retirement,” does not find support in the record. There is nothing

in the treatment notes or in the relevant civil service records

discussing Plaintiff’s eligibility (or lack thereof) for state

disability      retirement.      T.   18;    see,   e.g.,   Andrews      v.    Colvin,

No. 12-CV-6651, 2013 WL 5878114, *12 (W.D.N.Y. 2013) ("[t]he ALJ's

recitation of the facts contained in the credibility assessment

must be accurate and contain an explanation why they undermine the

credibility of the witness").

     Third, with regard to his daily activities, the ALJ noted that

Plaintiff was able to perform self-care, drove a car, maintained a

checking     account,      and   that       he   compensated     for     his    memory

difficulties by making lists and notes. T. 19. The Court points

out, however, that Plaintiff’s testimony at the administrative

hearing showed obvious signs of memory impairment.3 He could not

recall   when    or   if   he    applied     for    New   York   State    disability

retirement. T. 37-39.            Although he made adjustments by writing

himself notes, he stated that he would find the notes a week later

after washing them with the laundry. T. 45-46. Plaintiff testified

that he did not watch much television or read because if he read a

line or two he would not be able to remember what happened. T. 48.


     3
      It also appears that Plaintiff had articulation troubles during
the hearing, which was consistent with multiple medical evaluations
indicating slurred and stammering speech. T. 31-56.

                                            21
   Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 22 of 23



Finally, he told the ALJ that he volunteered for the local fire

department    directing        traffic,    and       was   able to      do     so   because

remembering the streets in his town did not require instructions

and did not involve his short-term memory. T. 55-56. In this

regard, the ALJ did not accurately summarize Plaintiff’s hearing

testimony, and, combined with the errors above,                         his credibility

finding cannot be said to be supported by substantial evidence. See

Aragon–Lemus v. Barnhart, 280 F.Supp.2d 62, 70 (W.D.N.Y. 2003)

(finding     the   ALJ's       credibility           analysis     not    supported       by

substantial evidence in part because the ALJ mischaracterized the

plaintiff's testimony).

     In summary, although the ALJ provided specific reasons for

discounting Plaintiff’s credibility, at least two of the proffered

reasons do not support his determination. These factual errors

require remand. See Horan v. Astrue, 350 Fed. Appx. 483, 485

(2d Cir. 2009) (remand appropriate because the ALJ's credibility

determination was based on factual errors); accord Ferguson v.

Colvin, 12-CV-0033, 2014 WL 3894487, at *10-*11 (W.D.N.Y. Aug. 8,

2014)   (remanding       for     factual        error’s      in   ALJ’s      credibility

determination      and    legal    error        in    failing     to    give    favorable

consideration to Plaintiff’s work history); but see Sesa v. Colvin,

No. 13-CV-2670, 2014 WL 3858404, (S.D.N.Y. Aug. 06, 2014) (finding

error   in    ALJ’s      adverse    credibility            determination        based    on

plaintiff’s receipt of long-term benefits was error, but declining


                                           22
   Case 1:12-cv-00880-MAT-HKS Document 17 Filed 06/01/15 Page 23 of 23



to remand where the credibility determination was independently

supported by other substantial evidence).

     Because the errors related to the credibility assessment

requires remand, the Court need not address Plaintiff’s remaining

contention   with     respect   to   the   ALJ’s   step    five     finding   that

Plaintiff could perform other work. On remand, the Commissioner

should ensure that any new decision sufficiently addresses all

issues raised by him.

                                 CONCLUSION

     For the reasons set forth above, the Commissioner’s motion for

judgment   on   the    pleadings     (Dkt.   #8)   is     denied,    Plaintiff's

cross-motion for judgment on the pleadings (Dkt. #11) is granted,

and this matter is remanded to the Commissioner for the reasons

stated above for further administrative proceedings pursuant to

42 U.S.C. § 405(g), sentence four.


     ALL OF THE ABOVE IS SO ORDERED.

                                     S/Michael A. Telesca

                                     MICHAEL A. TELESCA
                                     United States District Judge

Dated:     Rochester, New York
           June 1, 2015




                                      23
